                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

                                                     :
 BONNIE JONES, on behalf of herself and all          :
 others similarly situated,                          :   CIVIL ACTION
                                                     :
                                Plaintiffs,          :   NO. 3:17-cv-00424-RJC-DSC
          v.                                         :
                                                     :
 CHICAGO BRIDGE & IRON COMPANY                       :
 (DELAWARE),                                         :
                                                     :
                                Defendant.           :
                                                     :
                                                     :
                                                     :


                    MEMORANDUM IN SUPPORT OF JOINT MOTION
               FOR PRELIMINARY APPROVAL OF RULE 23 CLASS ACTION
                    AND FLSA COLLECTIVE ACTION SETTLEMENT
         Plaintiff Bonnie Jones (“Plaintiff”) and Defendant Chicago Bridge & Iron Company

(Delaware) (“CB&I” or “Defendant”) hereby file this joint brief in support of their Joint Motion

for Preliminary Approval of Rule 23 Class Action and FLSA Collective Action Settlement (“Joint

Motion”) and show unto the Court as follows:

   I.          INTRODUCTION

         Plaintiff alleges that Defendant violated federal and state law by failing to properly pay

overtime to its current and former hourly nonexempt employees at the Charlotte, North Carolina

and Canton, Massachusetts locations in the Power Division who worked an allegedly unlawful

“9/80” pay plan, (also referred to as an “A-B Schedule”), in violation of the Fair Labor Standards

Act (“FLSA”) 29 U.S.C. §§ 201, et seq., the North Carolina Wage and Hour Act. (“NCWHA”),

N.C. Gen. Stat. § 95-25.1, et seq., the Massachusetts Payment of Wages Act, G.L. c. 149, § 148 et

seq. (“MPWA”), and the Massachusetts Minimum Fair Wage Law, G.L. c. 151 et seq.



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(“MMFWL”) Defendant denies Plaintiff’s allegations and claims and has affirmatively asserted

that the 9/80 pay plan was fully compliant with governing law. The parties have reached a

settlement on behalf of the following Settlement Class:

         Non-exempt employees working a “9/80 plan” in Defendant’s Power Division for the 2
         years preceding the filing of the Complaint (July 18, 2015 through July 18, 2017) who
         were located in Charlotte, North Carolina and Canton, Massachusetts.


         As explained below, the Class Settlement meets the standards for approving both a

collective action settlement under the FLSA and for granting preliminary approval of a class action

settlement under Rule 23 of the Federal Rules of Civil Procedure. The settlement is memorialized

in the Class Action Settlement Agreement, attached as Exhibit 1 (“Settlement Agreement”). The

Declaration of Plaintiff’s Counsel (“Gibbons Decl.”) in support of the parties’ Joint Motion is

attached as Exhibit 2. The proposed Class Action Settlement Notice (“Notice”) is attached as

Exhibit 3. The parties request that the Court approve the FLSA settlement, preliminary approve

the Rule 23 settlement, and authorize the Notice to be sent to the class.

   II.      PLAINTIFF’S CLAIMS

   Plaintiff Bonnie Jones alleges she was employed by Chicago Bridge and Iron Company

(Delaware) or an affiliate, including Stone & Webster Services, LLC (“Stone & Webster”). On or

about December 31, 2015, CB&I sold Stone & Webster to Westinghouse. For purposes of the

instant lawsuit, Plaintiff asserts that CB&I was her employer as defined by the FLSA, up to and

including December 31, 2015, an allegation that Defendant denies. Plaintiff does not allege that

CB&I is liable for any FLSA/NCWHA/MPWA/MMFWL violations that may have been allegedly

committed by Stone & Webster or Westinghouse subsequent to December 31, 2015.

         During the relevant time period, approximately 259 CB&I non-exempt employees in the

Power Division worked what Defendant referred to as the “A-B Schedule.” Under the “A-B


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Schedule,” employees worked four 9-hour days (Monday through Thursday), followed by an 8-

hour workday at the end of the first workweek (Friday) that is split into two, 4-hour portions. The

employees then worked four more 9-hour days in the second week (Monday through Thursday)

with a day off on the fifth workday (Friday). Defendant’s A-B Schedule is commonly referred to

as a “9/80 Schedule.” If the 9/80 work schedule is set up and administered correctly by the

employer, workers will work two 40-hour work weeks during each two-week pay period and the

employer will not owe overtime (assuming no additional hours are worked).

       The key is that the employees’ workweek must begin/end during the midpoint of the 8-

hour workday (in this case, Friday), causing the first four hours worked that day to fall into one

workweek and the remaining four hours worked that day to fall into the next work week. If not

administered in this manner, the 9/80 schedule could result in overtime every other week. Plaintiff

alleges that Defendant established a Monday to Sunday workweek and that employees were not

paid for the 4 hours of alleged overtime worked every other week under Defendant’s A-B

Schedule. Defendant, however, denies that its A-B Schedule was based on a Monday to Sunday

workweek, contending its A-B Schedule was properly administered on a Friday (p.m.) to Friday

(a.m.) workweek, such that no overtime was worked under this schedule. Wage & Hour Division,

U.S. Dep’t of Labor Op. Ltr. (January 16, 2009).

       This legal and factual dispute determines liability in this case, the resolution of which

would require trial if the parties were unable to settle the matter and were unsuccessful in disposing

of the case through dispositive motion practice. Defendant also asserts that, even if liable (which

it denies), it paid overtime to employees in certain 36-hour weeks to which it would be entitled to

offset any overtime owed and that employees would not be entitled to overtime in workweeks




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where employees took vacation, sick leave, holiday, or other time off work that reduced their actual

hours worked below 40 hours.


    III.       PROCEDURAL BACKGROUND AND SETTLEMENT NEGOTIATIONS

           Plaintiff filed this case on July 18, 2017 on behalf of herself and all others similarly situated

asserting a collective action for violation of the FLSA and a Rule 23 class action alleging claims

for violation of the NCWHA.              (Dkt. #1.)   This lawsuit seeks to recover unpaid overtime

compensation and statutory penalties for Plaintiff and her co-workers. (Id.) Defendant filed its

Answer on October 23, 2017. (Dkt. #8.) On November 14, 2017, the parties filed a joint motion

to stay the proceedings to give the parties the opportunity to exchange information and explore

settlement. (Dkt. #13.) The parties requested, and the Court granted, additional stays in this action,

which the parties put to good use. (See Dkt. ##15, 18.)

    Between November 2017 and September 2018, the parties exchanged information and

negotiated the settlement in this case, which was ultimately reached at mediation before Hon.

Judge Carl Horn, III (Ret.) on September 21, 2018. The attorneys who negotiated the settlement

are experienced wage and hour litigators who zealously represented their clients’ respective

interests.          (Gibbons     Decl.     ¶¶1-10);       https://ogletree.com/people/benjamin-r-holland,

https://ogletree.com/people/elizabeth-r-gift (Defendant’s counsel’s web profiles).


           To facilitate the negotiations, the parties exchanged information, including class, payroll,

and compensation data. (Id. at ¶10.) During the negotiations, the parties evaluated Defendant’s

policies and procedures regarding compensation, scheduling, and time reporting; job

responsibilities and duties; and payroll data. (Id.) Negotiations were extensive and both sides

ardently advocated their interests. After these negotiations, the parties reached an agreement. (Id.)




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   IV.      SUMMARY OF THE PROPOSED SETTLEMENT

         The parties have executed a Settlement Agreement that allows members of the Settlement

Class to participate in a settlement of wage and hour claims asserted in the action. The Settlement

Class is defined as “Non-exempt employees working a “9/80 plan” in Defendant’s Power Division

for the 2 years preceding the filing of the Complaint (July 18, 2015 through July 18, 2017) who

were located in Charlotte, North Carolina and Canton, Massachusetts.” (Ex. 1 at ¶1, p.4.) There

are 259 people in the Settlement Class. The total amount of the settlement is $275,000.00 (“Total

Settlement Amount”). (Id. at ¶4.) Of this amount, the maximum of $174,833.33 will be paid to

the Settlement Class, including a $3,500 incentive payment to Plaintiff Bonnie Jones in recognition

for her efforts in filing this case and fighting for the rights of the Class Members. (Id.) One third

of the Total Settlement Amount, $91,666.67, will be sought by Plaintiffs’ Counsel as attorneys’

fees and up to $5,000 in expenses and court costs, will be sought from the Total Settlement

Amount. (Id.) Plaintiffs’ Counsel will be handling the responsibilities/duties of the Settlement

Administrator. (Id.)

         Within seven (7) days of the Court’s Order preliminarily approving the Settlement

Agreement, Defendant will provide the Settlement Administrator with the information needed to

facilitate notice of the settlement and calculate the allocation of the Settlement proceeds to all

potential Settlement Class Members. (Id. at ¶7.) Settlement Class Members will be sent the Notice

by first-class mail explaining the terms of the settlement, their rights under the settlement, method

for calculating his/her portion of the Total Settlement Amount and the amount he/she is expected

to receive under this method, and the procedure for opting-out of, or objecting to, the Settlement.

The Settlement Class Members will have forty-five (45) days to opt-out of, or object to, the

settlement. (Id. at ¶¶ 9-10.)




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       Except for the named Plaintiff, Bonnie Jones, who agrees to provide a general release in

exchange for receipt of an incentive award, the release given by other Settlement Class Members

is limited to wage and hour claims under the FLSA and the NCWHA, the MPWA, and the

MMFWL, as applicable, as set forth in the Agreement. (Id. at ¶¶5, 13.) Settlement Class Members

who properly and timely opt-out will not release any claims.

       Each Settlement Class Member for whom Defendant’s records show worked an “A-B

Schedule” in the data provided by Defendant to Plaintiff in this matter (a two-year period) , and

who do not opt-out of the Settlement (“Participating Class Member”), will receive a pro rata

portion of the Net Settlement Amount as follows:

       i.        Each Participating Class Member shall be eligible to receive a pro rata portion of
                 the Net Settlement Amount based on the number of weeks that the Participating
                 Class Member worked during the Recovery Period, which is then divided in half.
                 This represents the number of weeks that the Participating Class Member allegedly
                 worked overtime under the A-B Schedule (“Overtime Weeks”). The Participating
                 Class Member shall receive one settlement share for each Overtime Week worked
                 during the Recovery Period.

       ii.       The total number of settlement shares for all Participating Class Members will be
                 added together and the resulting sum will be divided into the Net Settlement
                 Amount to reach a per share dollar figure. That figure will then be multiplied by
                 each Participating Class Member’s number of settlement shares to determine the
                 Participating Class Member’s Settlement Award.

(Ex. 1 at ¶8.)

       If the Settlement is finally approved and does not terminate for any of the reasons set forth

in the Settlement Agreement, those who do not opt out of the Settlement will be sent a check for

the amount of their Settlement Award and releases their NCWHA, MPWA, and MMFWL claims

as applicable. (Id. at ¶10, 12.) Any individual who cashes his or her check will be deemed to have

opted-in to this lawsuit for FLSA purposes and releases his/her FLSA claims. (Id. at 5.)




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    V.      PRELIMINARY APPROVAL OF THE SETTLEMENT

         For settlement purposes only, the parties seek certification of a class under Fed. R. Civ. P.

23 and under the collective action procedure of the FLSA. The standards for approval are similar.

To approve an FLSA settlement, the Court should consider whether it fairly and reasonably

resolves a bona fide dispute. Latham v. Branch Banking and Trust Co., No. 1:12–cv–00007, 2014

WL 464236 at *1 (M.D.N.C. Jan. 14, 2014).

         To preliminarily approve a Rule 23 settlement, the Court should consider whether the

proposed settlement is “fair, reasonable and adequate.” Beaulieu v. EQ Indus. Servs., Inc., No.

5:06–CV–00400–BR, 2009 WL 2208131, at *23 (E.D.N.C. July 22, 2009). The Fourth Circuit

has bifurcated the analysis into considerations of fairness, which focuses on whether the proposed

settlement was negotiated at arm’s length, and adequacy, which focuses on whether the

consideration provided is sufficient. Id.

         Courts typically follow a two-step process when reviewing a proposed class settlement.

First, the Court determines whether the proposed settlement is within the possible range of

approval – whether or not there is probable cause to give notice of the proposed settlement to the

class. Id. Second, the Court conducts a fairness hearing after preliminary approval is granted and

class notice is provided. Id. In this case, the parties jointly request that the Court grant preliminary

approval of the Rule 23 Settlement and of the FLSA Settlement and set a fairness hearing.


            a.      Initial Presumption of Fairness

         Although the Fourth Circuit has not directly addressed the relevant factors the Court should

consider when determining whether a FLSA collective action settlement is fair and reasonable,

district courts generally consider the fairness factors under Fed. R. Civ. P. Rule 23(e). Latham,

2014 WL 464236, at *1.




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       The law favors settlement, particularly in class actions such as this where substantial

resources can be conserved by avoiding the time, cost, and rigor of prolonged litigation. See, e.g.,

Int’l Union, United Auto, Aerospace & Agr. Implement Workers of Am. v. Gen. Motors Corp., 497

F.3d 615, 632 (6th Cir. 2007) (federal policy favors settlement of class actions); Lynn’s Food

Stores, Inc. v. United States, 679 F.2d 1350, 1354 (11th Cir. 1982) (recognizing policy encouraging

settlement of FLSA litigation).

       Courts adhere to “an initial presumption of fairness when a proposed class settlement,

which was negotiated at arm’s length by counsel for the class, is presented for court approval.”

Newberg on Class Actions, § 11.41. After the parties’ arm’s length negotiations, “it is not for the

Court to substitute its judgment as to a proper settlement for that of such competent counsel.” In

re Austrian & German Bank Holocaust Litigation, 80 F. Supp. 2d 164, 173-74 (S.D.N.Y. 2000)

(citation omitted); see also Grier v. Chase Manhattan Automotive Fin. Co., No. CIV. A. 99–180,

2000 WL 175126, at *5 (E.D. Pa. Feb. 16, 2000) (“An initial presumption of fairness attaches to

a class settlement reached in arm’s length negotiations between experienced and capable

counsel.”)

         b.    Analysis of the Applicable Factors Favors the Settlement

                   i. The Settlement was achieved in an adversarial context

       The Settlement was negotiated at arm’s length by experienced counsel concerning bona

fide disputes between their clients with respect to liability and amounts due. (Gibbons Decl. ¶11.)

This case represented numerous contested factual issues, whether certain legal defenses provided

Defendant with a complete or partial defense to liability, and whether class or collective action

certification would be proper. (Id.)




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                   ii. Class Counsel

       The experience of Class Counsel in litigating and negotiating complex wage and hour

disputes likewise strongly favors approving the Settlement.          “A court is ‘entitled to give

consideration to the opinion of competent counsel that the Settlement is fair, reasonable and

adequate.’” In re Red Hat, Inc. Securities Litigation, No. 5:04–CV–473–BR, 2010 WL 2710517

at *3 (E.D.N.C. June 11, 2010) (quotation omitted).           When parties assert that they acted

independently and negotiated without collusion to develop a proposed settlement, as is the case

here, and being no evidence to the contrary, the Court can be satisfied that negotiations were

conducted such that each side actively advocated its own position. Id. at *2. The putative class

had the benefit of representation by law firms that are highly specialized in complex wage and

hour litigation, who are familiar with the facts and law in the case, and who collectively have

negotiated dozens of similar class and collective action settlements. (Gibbons Decl. ¶¶ 1-9.) In

Class Counsel’s view, the Settlement provides substantial benefits to the Class Members,

particularly when considering the attendant expense, risks, difficulties, delays and uncertainties of

litigation, trial, and post-trial proceedings.   (Id.)   Likewise, Defendant was represented by

experienced counsel who routinely handle matters under the FLSA and state wage and hour law,

as well as work on class and collective litigation.

                  iii. The Settlement reflects a reasonable compromise of disputed issues

       After investigating the facts and law, and after an exchange of information from Defendant

to Plaintiff, the parties concluded that they had sufficient information concerning Plaintiffs’ claims

and Defendant’s defenses from which to discuss settlement of this case. As a result, the parties

have ample evidence to make an informed assessment of the merits of their positions. Based on

their knowledge of the case and applicable law, as well as their experience in other overtime cases,




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Plaintiff’s Counsel believes the Settlement is fair, reasonable, and adequate. Although the Court

is not bound by Counsels’ opinion, their opinion is nonetheless entitled to great weight. See, e.g.,

Gribble v. Cool Transports, Inc., No. CV 06-04863 GAF, 2008 WL 5281665, *9 (C.D. Cal.

December 15, 2008) (“Great weight is accorded to the recommendation of counsel, who are most

closely acquainted with the facts”).

                   iv. The Settlement is fair

       Most importantly, the settlement puts money in the hands of Class Members who

participate in the settlement and cash the checks sent to them. The settlement also provides the

Class with a substantial portion of the relief sought in the Complaint, without the delay and expense

of trial, and potentially, post-trial proceedings. Although the maximum possible award at trial may

be larger than the settlement amount, the inquiry as to whether a settlement is reasonable examines

the benefits of the settlement in light of risks of establishing liability and damages. See, e.g., Erie

Cty. Retirees Ass’n v. County of Erie, Pennsylvania, 192 F. Supp. 2d 369, 375-76 (W.D. Pa. 2002).

Preliminary approval under Rule 23 is not an ultimate determination of whether the settlement is

fair, reasonable, and adequate. Rather, at this stage the Court must merely determine “whether

there is any reason to notify the Class Members of the proposed settlement and to proceed with a

fairness hearing.” Gautreaux v. Pierce, 690 F.2d 616, 621 n.3 (7th Cir. 1982). This necessarily

involves a preliminary determination of the settlement’s fairness, reasonableness and adequacy.

See Manual for Complex Litigation, § 21.632. If the Court finds the Settlement “within the range

of possible approval,” it should order that the Class be notified of the settlement and formal fairness

hearing. Id. at § 40.42.

       The settlement is favorable and provides reasonable consideration for the claims, bringing

compensation to Class Members now, not years from now, and provides certainty about the




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outcome. It is “proper to take the bird in the hand instead of the prospective flock in the bush.”

UAW v. Gen. Motors Corp., No. 05-CV-73991-DT, 2006 WL 891151, *18 (E.D. Mich. March 31,

2006).

    VI.      THE CLASS MEMBERS ARE SIMILARLY SITUATED FOR THE FLSA
             SETTLEMENT
          In this case, Plaintiff pled statutory overtime claims under the FLSA. Under the FLSA,

employees are entitled to bring an action for unpaid wages on behalf of themselves and other

similarly situated employees. 29 U.S.C. § 216(b). A class may be certified under the FLSA if the

named plaintiff’s claims are based on a uniform policy or practice of compensation. Harris v.

Smithfield Packing Co., Inc., No. 4:09–CV–41–H(1), 2011 WL 4443024, at*4 (E.D.N.C. Sept. 23,

2011).

          For purposes of this Joint Motion and settlement only, the parties agree that the Class

Members are similarly situated.1


    VII.     THE PROPOSED SETTLEMENT CLASS SATISFIES FED. R. CIV. P. 23


          When granting preliminary approval of a Rule 23 settlement, the Court should determine

whether the proposed class is a proper class for settlement purposes. Amchem v. Windsor, 521 U.S

591, 620 (1997). In certifying a settlement class, however, the Court is not required to determine

whether the action would be manageable if tried, “for the proposal is that there be no trial.” Id.;

see also Fed. R. Civ. P. 23(b)(3)(D). Here, the Settlement Class meets the requirements of Rule

23(a) and (b)(3).




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 If this settlement is not approved, per the terms of the settlement agreement, Defendant reserves the right
to challenge that Class Members are “similarly situated.” Likewise, Defendant reserves the right to
challenge the elements of FRCP 23 if the settlement is not finally approved.


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       Provisional class certification is appropriate at the preliminary approval stage where, as is

the case here, the proposed class has not previously been certified, and the record supports the

propriety of class certification. Newberg on Class Actions, § 11.22. The practical purpose of

provisional class certification is to facilitate dissemination of notice to the Settlement Class of the

terms of the proposed Settlement and the date and time of the final-approval hearing. Id. at §

11.27. The requirements of Rule 23 are met:

             a. Rule 23(a)(1) – Numerosity

       The numerosity requirement is met if the proposed class is so large that joinder of all Class

Members would be impracticable. See, e.g., Beaulieu, 2009 WL 2208131, at *11. While there is

no set formula, the Fourth Circuit has found numerosity with a proposed class of 46 to 50 class

members. Hosley v. Armour & Co., 743 F.2d 199, 217 (4th Cir. 1984). During the class period,

Defendant employed approximately 259 employees who worked the A-B Schedule at the

Charlotte, North Carolina and Canton, Massachusetts locations. Thus, numerosity is satisfied.

             b. Rule 23(a)(2) – Commonality

       Commonality is met if there are questions of fact and law that are common to the class.

Fed. R. Civ. P. 23(a)(2); Beaulieu, 2009 WL 2208131, at *11. Here, the questions of law and fact

presented in this case are common to all Class Members – all employees comprising the Class

allege that they were subject to the same 9/80 pay practice that forms the basis of Plaintiff’s claims,

which resulted in allegedly similar harm to the Class that Plaintiff seeks to redress through her

action. (Dkt. #1 at ¶¶1-6; 24-26; 31-33.) In essence, Plaintiff alleges that she, and the Class

Members, were not paid overtime for all hours worked in excess of 40 during the first week of the

two-week A-B Schedule resulting in overtime violations under the FLSA and violations of state

law. (Id.)

             c. Rule 23(a)(3) – Typicality


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        Rule 23 requires that “the claims . . . of the representative parties are typical of the claims

. . . of the class.” Fed. R. Civ. P. 23(a)(3). Typicality does not require that the claims be identical;

the named Plaintiff’s claims must arise from the same legal theories as the claims of the unnamed

Class Members. Beaulieu, 2009 WL 2208131, at *13. The named Plaintiff’s claims must arise

from the same event, practice or course of conduct and be based on the same legal theories as the

claims of the unnamed Class Members. Id. Like all other Class Members, Plaintiff was an hourly

employee in the Power Division for Defendant during the class period. (Dkt. #1 at ¶24, 32.) She

was subject to the same alleged unlawful pay practice as the other Class Members. (Id. at ¶¶1-6;

24-26; 31-33.) The typicality requirement is met.

            d. Rule 23(a)(4) – Adequacy

        Rule 23 requires that “the representative parties will fairly and adequately protect the

interests of the class.” Fed. R. Civ. P. 23(a)(4). To resolve this requirement, courts consider

whether class counsel are qualified, experienced, and generally able to conduct the proposed

litigation and whether the representative’s claims are aligned with the absent class members to

ensure fair and adequate representation. Beaulieu, 2009 WL 2208131, at **15, 17.

        The adequacy requirement is satisfied. Plaintiff and the absent Class Members have the

alleged same claims and resulting injury arising from the same alleged unlawful pay practices.

Plaintiff’s interests are in harmony with those of the Class Members. Plaintiff has also retained

Counsel who have extensive experience in prosecuting class actions and complex cases, including

wage and hour cases. (Gibbons Decl. at ¶¶1-10.)

            e. Rule 23(b)(3) – Predominance and Superiority

        Finally, Plaintiffs contend that the proposed Class meets the requirements of Rule 23(b)(3).

To certify a class, the Court must find that common questions predominate over any questions

affecting only individual members and class resolution is superior to other available methods for


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the fair adjudication of the controversy. Fed. R. Civ. P. 23(b)(3). Predominance is met when most

of Plaintiff’s evidence is common to each member of the class. Beaulieu, 2009 WL 2208131, at

*20 (citing In re Polyester Staple Antitrust Litig., No. 3:03CV1516, 2007 WL 2111380, at *27

(W.D.N.C. July 19, 2007)). Here, questions of law and fact are common to the class – whether

Defendant’s pay practices in association with a 9/80 schedule violated state wage and hour law

(i.e., the NCWHA or the MWPA and the MMFWL as applicable) – predominate over any

individual questions. The evidence required to establish Plaintiff’s claims is common to the Class

as well.

       Plaintiff also maintains that a class action is superior to other methods for the fair and

efficient adjudication of this controversy. Class Members are not likely to have an interest in

prosecuting individual cases against Defendant given the relatively low amount of potential

damages at stake on an individual basis and the offsets Defendant contends would apply.

Additionally, concerns of efficiency and economy favor litigating the issues in one action before

this Court rather than requiring individuals to file numerous lawsuits.

   VIII. CLASS NOTICE

       Under Rule 23(c)(2), courts “shall direct to the members of the class the best notice

practicable under the circumstances, including individual notice to all Class Members who can be

identified through reasonable effort.” The notice must “concisely and clearly state in plain, easily

understood language” the nature of the action; the definition of the class certified; the class claims,

issues and defenses; that the class member may appear through counsel if the class member wishes;

that the court will exclude class members who request exclusion and the process for doing so; and

the binding effect of a class judgment on the class members. Fed. R. Civ. P. 23(c)(2). While Rule

23 does not spell out the required contents of the settlement notice, it must fairly appraise the




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prospective members of the class of the terms of the proposed settlement and of the options that

are open to them in connection with the proceedings. Beaulieu, 2009 WL 2208131, at *28.

         The proposed Class Notice is attached hereto as Exhibit 3.            It satisfies the notice

requirements by explaining in clear terms, among other things: (1) the nature of the settlement

and the claims resolved and released; (2) the method for allocating the remainder of the Settlement

Award to the participating Class Members; (3) the requirement that each Class Member op-out if

they do not wish to participate in the settlement and the procedure/deadlines for opting-out of the

settlement; (4) the opportunity to object to the settlement and the procedure/deadlines to do so; (5)

the disclosure of the $3,500 Incentive Payment to Plaintiff in return for filing and prosecuting her

claims on behalf of herself and the Class; and (6) the disclosure to Class Members that Plaintiff’s

Counsel will apply to the Court for an award of fees and costs associated with this action, and the

amounts sought.

   IX.      THE NAMED PLAINTIFF IS ENTITLED TO THE INCENTIVE PAYMENT

         Under the terms of the Settlement, Plaintiff Bonnie Jones will receive a $3,500 Incentive

Payment in return for her efforts in initiating this action and prosecuting it to Settlement on behalf

of herself and the Class. (Ex. 1 at ¶13.) A named plaintiff is an “essential ingredient of any class

action, a service award is appropriate if it is necessary to induce an individual to participate in the

suit.” Boyd v. Coventry Heath Care, Inc., 299 F.R.D. 451, 468 (D. Md. 2014) (awarding $5000

incentive awards to each of five class representatives) (citation omitted). When awarding incentive

payments, the Court should consider “the actions taken to protect the class, the degree to which

the class has benefited from those actions, and amount of time and effort the plaintiff expended in

pursuing the litigation.” Id. at 469. Here, Plaintiff was responsible for initiating this action and

providing information and guidance to Plaintiff’s Counsel in prosecuting the overtime claims on

behalf of the Class. Considering her efforts, the requested Incentive Payment is justified.


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   X.         PLAINTIFF’S COUNSEL IS ENTITLED TO REASONABLE ATTORNEYS’
              FEES AND EXPENSES

         Under the FLSA, plaintiffs are entitled to reasonable attorneys’ fees spent in recovering

unpaid wages. 29 U.S.C. § 216(b); Smith v. Krispy Kreme Doughnut Corp., No. 1:05CV00187,

2007 WL 119157, at *1 (M.D.N.C. Jan. 10, 2007). “[T]he vast majority of courts of appeals . . .

permit or direct district courts to use the percentage-fee method in common-fund case[s].” Id.

(citing Manual for Complex Litigation § 14.121 (4th Ed. 2004). In applying the percentage-fee

methodology, federal courts in the Fourth Circuit have approved percentages between 25% and

35% as fair and reasonable. Muhammad v. Nat’l City Mortgage, Inc., No. 2:07-0423, 2008 WL

5377783 (S.D. W.Va. Dec. 19, 2008) (citing fees of one third, 25%, 30.6%, 35% and 32.5 %);

DeWitt v. Darlington County South Carolina, 4:11–cv–00740–RBH, 2013 WL 6408371, at *9

(D.S.C. Dec. 6, 2013) (citing approved fees of one-third from New York, Iowa, and Maryland and

up to 45% from New Jersey).

         Here, the parties’ Settlement allocates one-third of the Total Settlement to attorneys’ fees

and costs for all claims. (Ex. 1 at ¶¶4, 14.) Plaintiff’s Counsel would typically be entitled to

request an award of fees and expenses upon approval of the FLSA settlement, but here the FLSA

settlement is contingent upon the approval of the Rule 23 class settlement. Plaintiff’s Counsel will

submit a single application for fees and costs with their motion for final approval of the Rule 23

settlement.

   XI.        CONCLUSION

         For the foregoing reasons set forth above, the parties respectfully request that the Court

grant their Joint Motion for Preliminary Approval of Rule 23 Class Action and FLSA Collective

Action Settlement, enter the proposed Order, set a hearing for final approval, and grant any other

relief that the Court deems just and proper.



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/s/ Benjamin R. Holland                          /s/ Philip J. Gibbons, Jr.
Benjamin R. Holland, NCSB #28580                 Philip J. Gibbons, Jr., NCSB #50276
benjamin.holland@ogletree.com                    phil@gibbonsleis.com
Ogletree, Deakins, Nash, Smoak & Stewart P.C.    Craig L. Leis, NCSB #48582
201 South College Street, Suite 2300             GIBBONS LEIS, PLLC
Telephone: (704) 342-2588                        14045 Ballantyne Corporate Pl., Suite 325
Facsimile: (704) 342-4379                        Charlotte, NC 28277
                                                 Telephone: (704)-612-0038
Attorney for Defendant                           Facsimile: (704) 612-0038

                                                 Ryan F. Stephen
                                                 rstephen@stephansouras.com
                                                 James B. Zouras
                                                 jzouras@stephanzouras.com
                                                 Andrew C. Ficzko
                                                 aficzko@stephanzouras.com
                                                 STEPHAN ZOURAS, LLP
                                                 100 North Riverside Plaza, Suite 2150
                                                 Chicago, IL 60606
                                                 Telephone: (312) 233-1550
                                                 Facsimile (312) 233-1560

                                                 Attorneys for Plaintiff




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                                CERTIFICATE OF SERVICE


       This is to certify that on March 24, 2019, the undersigned filed the foregoing using the

Court's CM/ECF system which will send notification of such filing to the appropriate CM/ECF

participants.

                                                    /s/ Philip J. Gibbons, Jr.
                                                    Attorney for Plaintiff(s)




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